     Case 1:21-cv-02679-MHC-RDC Document 1 Filed 07/06/21 Page 1 of 10




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

ANTONIO HEAD,                )
                             )                       CIVIL ACTION FILE NO.
    Plaintiff,               )
                             )
v.                           )
                             )
POLYSTONE CREATIONS INC. AKA )
POLYSTONE CREATIONS LLC      )                       JURY TRIAL DEMANDED
                             )
    Defendant.               )
                             )

                                   COMPLAINT

      Plaintiff Antonio Head (“Plaintiff” or “Mr. Head”) submits the following

Complaint against Defendant PolyStone Creations Inc. a/k/a PolyStone LLC

(“PolyStone” or “Defendant Employer”).

                                 INTRODUCTION

      Throughout Plaintiff’s employment with Defendant Employer, he was

harassed and treated less favorably than similarly situated non-African American

Employees. Further, after complaints of race discrimination, he was retaliated

against including, but not limited to being expressly terminated for hiring an attorney

and sending a demand letter complaining about discrimination. Accordingly, Mr.

Head brings this action against Defendant Employer for race discrimination and

retaliation in violation of 42 USC Section 1981 (“Section 1981”) and in violation of
      Case 1:21-cv-02679-MHC-RDC Document 1 Filed 07/06/21 Page 2 of 10




Title VII of the Civil Rights Act of 1964, as amended. Mr. Head seeks back pay,

front pay, injunctive relief, compensatory damages, punitive damages, and nominal

damages as well as attorney’s fees and costs against Defendant.

                          JURISDICTION AND VENUE

       1.     Mr. Head’s claims present federal questions over which this Court has

jurisdiction under 28 U.S.C. §§ 1331 and 42 U.S.C. §2000e et seq.

       2.     This Court is an appropriate venue for all of Mr. Head’s claims under

28 U.S.C. § 1391(b) and (c) because all of the parties reside within the Northern

District of Georgia, and the substantial majority of events giving rise to Mr. Head’s

claims occurred in this judicial district.

                       ADMINISTRATIVE PROCEEDINGS

       3.     Mr. Head timely filed a Charges of Discrimination with the Equal

Employment       Opportunity       Commission      (“EEOC”).   Attached   hereto    and

incorporated herein is “Exhibit A”.

       4.     The EEOC issued Mr. Head his notice of right to sue. Attached hereto

and incorporated herein is “Exhibit B”.

       5.     Plaintiff has exhausted his administrative remedies prerequisite to filing

this suit pursuant to Title VII.

       6.     Plaintiff has commenced this action within 90 days of his receipt of the

right to sue letter.



                                             -2-
     Case 1:21-cv-02679-MHC-RDC Document 1 Filed 07/06/21 Page 3 of 10




                                    PARTIES

      7.    Plaintiff is a citizen of the United States and a resident of the state of

Georgia.

      8.    Defendant Employer is a registered Limited Liability Company

(“LLC”) in Georgia. (See “Exhibit C”)

      9.    Despite Defendant Employer being registered as an LLC, Defendant

Employer paid Plaintiff under the name PolyStone Creations Inc. (See “Exhibit D”)

      10.   PolyStone Creations Inc. is not a corporation registered with the

Secretary of State to do business in GA.

      11.   Upon information and belief, PolyStone Creations Inc. and PolyStone

Creations LLC are the same legal entity.

      12.   Defendant Employer transacts business in the Northern District of

Georgia.

      13.   Defendant Employer is subject to this Court’s jurisdiction and may be

served with process at:

                          Briskin Corporate Services, Inc.
                          33 South Main Street, Suite 300,
                              Alpharetta, GA, 30009

                           FACTUAL ALLEGATIONS

      14.   Plaintiff’s race is African American.

      15.   Defendant Employer’s management team is largely or exclusively white.



                                           -3-
     Case 1:21-cv-02679-MHC-RDC Document 1 Filed 07/06/21 Page 4 of 10




       16.     Defendant Employer employed fifteen or more employees for each

working day in each of twenty or more calendar weeks throughout 2019 and 2020.

       17.     Defendant Employer is subject to the anti-discrimination and anti-

retaliation provisions of both Section 1981 and Title VII of the Civil Rights Act of

1964, as amended.

       18.     Mr. Head began working for PolyStone in July 2019.

       19.     Throughout his tenure with PolyStone, Mr. Head has been a hard-

working employee who diligently performed his duties on a regular basis.

       20.     PolyStone has subjected Mr. Head to a pattern of discrimination and

retaliation.

       21.     For example, in February 2020, a colleague called Mr.

Head a “colored boy" on multiple occasions.

       22.     Mr. Head complained to upper management and Human Resources

about the conduct, but no remedial action was taken, even after the colleague

admitted to making the comments.

       23.     By way of further example, in April 2020, PolyStone began to assign

Mr. Head less hours than his similarly situated peers.

       24.     Mr. Head complained to HR about the disparate treatment, but again

remedial action was not taken.

       25.     In May 2020, Mr. Head was furloughed along with other employees.



                                         -4-
      Case 1:21-cv-02679-MHC-RDC Document 1 Filed 07/06/21 Page 5 of 10




      26.    However, when Mr. Head returned to work in September 2020, the

retaliation continued.

      27.    For example, on or about September 11, 2020. Mr. Head was

supposed to be training under a new supervisor.

      28.     Instead of training him, the supervisor forced Mr. Head to clean for

the entire day.

      29.     On or about September 14, 2020, the supervisor that was supposed to

train Mr. Head did not report to work, and he failed to inform Mr. Head. This led

Mr. Head to report to work and have no direction.

      30.     Mr. Head again complained of race discrimination and retaliation to

HR.

      31.     Rather than address his complaints. Mr. Head was subject to a

retaliatory write-up on or about September 21, 2020. (See “Exhibit E” Conditional

Offer of Reinstatement).

      32.    Mr. Head satisfied all conditions for his reinstatement, and was ready

and willing to start back to work.

      33.     On September 23, 2020, shortly after receipt of the write up, Mr.

Head hired an attorney who promptly wrote a letter to Defendant Employer

alleging race discrimination and retaliation. (See “Exhibit F”).




                                        -5-
     Case 1:21-cv-02679-MHC-RDC Document 1 Filed 07/06/21 Page 6 of 10




      34.    On September 28, 2020, after receipt of Plaintiff’s attorney’s letter

Defendant Employer emailed Plaintiff and informed him that he was terminated.

Specifically, the email said, “[g]iven the letter we received today from your

attorney, we will have no further engagement.” (See Exhibit G”).

      35.    Plaintiff was terminated on September 28, 2020 in retaliation for his

complaints of race discrimination.

      36.    On October 2, 2020 Defendant Employer responded to Plaintiff’s

attorney’s letter. (See “Exhibit H”). Within this response letter Defendant

Employer stated, “based on … the claims outlined in your letter dated September

23rd (referring to Exhibit F) it is obvious that Mr. Head has taken no responsibility

for his inappropriate actions and is now making extremely erroneous and un-

substantiated claims against PolyStone.”

     FIRST AND SECOND CAUSES OF ACTION: RACE-BASED
 DISCRIMINATION IN VIOLATION OF TITLE VII AND SECTION 1981
      BOTH DISPARATE TREATMENT AND HOSTILE WORK
                      ENVIRONMENT

      37.     Plaintiff incorporates by reference the paragraphs above, as if fully

set forth herein.

      38.    Plaintiff is a member of a protected group (African American).

      39.    Plaintiff was employed by Defendant Employer.

      40.    Plaintiff was qualified for the position he held.




                                         -6-
     Case 1:21-cv-02679-MHC-RDC Document 1 Filed 07/06/21 Page 7 of 10




       41.    As detailed above, Plaintiff was subjected to both disparate treatment

and a hostile work environment based on his race.

       42.    This unwelcome disparate treatment and racial harassment was

sufficiently severe and/or pervasive to alter the terms and conditions of Plaintiff’s

employment and/or to create a hostile working environment.

       43.    Defendant Employer knew or should have known of the hostile work

environment that existed at Plaintiff’s place of employment and the disparate

treatment of African American employees in comparison to the non-African

American employees.

       44.    Defendant Employer’s employees failed to take prompt and

appropriate remedial measures to stop the discrimination.

       45.    Plaintiff suffered damages as a result of this discrimination.

       46.    As a direct and proximate result of Defendant Employer’s above-

mentioned discriminatory actions, Plaintiff has suffered lost wages and benefits,

significantly diminished employment opportunities and emotional distress,

including but not limited to outrage, shock and humiliation.

                        THIRD CAUSE OF ACTION
                   RETALIATION IN VIOLATION OF BOTH
                       TITLE VII AND SECTION 1981

       47.    Plaintiff hereby incorporates each and every preceding paragraph as if

set forth fully herein.



                                          -7-
     Case 1:21-cv-02679-MHC-RDC Document 1 Filed 07/06/21 Page 8 of 10




      48.      Mr. Head engaged in protected activity under both Title VII and Section

1981 by repeatedly complaining of race discrimination and retaliation to Defendant

Employer.

      49.      Mr. Head was written up and terminated in retaliation for engaging in

protected activity.

      50.      Defendant Employer’s actions constitute unlawful retaliation in

violation of both Title VII of the Civil Rights Act, as amended and 1981 as amended.

      51.      Defendant Employer willfully and wantonly disregarded Mr. Head’s

rights and Defendant Employer’s retaliation against Mr. Head was undertaken

intentionally and in bad faith.

      52.      As a result of Defendant Employer’s unlawful actions, Mr. Head has

suffered lost compensation and other benefits of employment, significantly

diminished employment opportunities, emotional distress consisting of, but not

limited to, outrage, shock, and humiliation, inconvenience, loss of income, and other

indignities.


                           FORTH CAUSE OF ACTION:

                   NEGLIGENT SUPERVISION/ RETENTION

      53.      Plaintiff incorporates by reference paragraphs 1 through 52 of this

Complaint.




                                          -8-
     Case 1:21-cv-02679-MHC-RDC Document 1 Filed 07/06/21 Page 9 of 10




       54.     Defendant Employer knew that Plaintiff was being discriminated

against because he engaged in protected activity.

       55.     Despite this knowledge, Defendant Employer failed to take prompt

and appropriate remedial steps to protect Plaintiff from further discrimination and

retaliation.

       56.     As a result of Defendant Employer’s negligent retention and/or

supervision, Plaintiff suffered damages in the form of lost wages and benefits,

significantly diminished employment opportunities, and emotional distress.


       WHEREFORE, Plaintiff demands a trial by jury and for the following relief:

       (a)     a declaratory judgment that Defendant Employer has engaged in

unlawful employment practices in violation of Title VII of the Civil Rights Act, as

amended;

       (b)     an injunction prohibiting Defendant Employer from engaging in

unlawful employment practices in violation of Title VII of the Civil Rights Act;

       (c)     full back pay from the date of Plaintiff’s retaliatory termination, taking

into account all raises to which Plaintiff would have been entitled but for his

unlawful termination, and all fringe and pension benefits of employment, with

prejudgment interest thereon;

       (d)     front pay to compensate Plaintiff for lost future wages, benefits, and

pension;


                                           -9-
     Case 1:21-cv-02679-MHC-RDC Document 1 Filed 07/06/21 Page 10 of 10




      (e)    compensatory damages, in an amount to be determined by the

enlightened conscience of the jury, for Plaintiff’s emotional distress, suffering,

inconvenience, mental anguish, loss of enjoyment of life and special damages;

      (f)    punitive damages in an amount to be determined by the enlightened

conscious of the jury to be sufficient to punish Defendant for its conduct toward

Plaintiff and deter it from similar conduct in the future;

       (g)   nominal damages;

      (h)    reasonable attorney’s fees and costs; and

       (i)   other and further relief as the Court deems just and proper.

      Respectfully submitted this 6th day of July, 2021.

                                                      /s/ J. Stephen Mixon
                                                      J. Stephen Mixon
                                                      Georgia Bar No. 514050
                                                      steve@mixon-law.com
                                                      Attorney for Plaintiff


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                                         - 10 -
